                 Case 2:20-cv-01044-MJP Document 39 Filed 10/16/20 Page 1 of 3




 1                                                       THE HONORABLE MARSHA J. PECHMAN

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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8
                                                              No. 2:20-cv-1044-MJP
 9    EARL JAMES GOBIN,
                                                              STIPULATION AND ORDER
10                                Plaintiff,                  REGARDING BRIEFING
                                                              SCHEDULE ON DEFENDANT’S
11           v.                                               RULE 12(b)(6) MOTION TO
                                                              DISMISS FIRST AMENDED
12    MICROSOFT CORPORATION,                                  COMPLAINT
13                                Defendant.                  Note on Motion Calendar:
                                                              October 15, 2020
14

15
                                           STIPULATED MOTION
16
             Pro se Plaintiff Earl James Gobin (“Plaintiff”) and Defendant Microsoft Corporation
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      (“Microsoft” or “Defendant”), by and through its counsel of record, stipulate and agree as
18
      follows:
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             1. On September 24, 2020, Microsoft timely filed a Motion to Dismiss Plaintiff’s
20
                   complaint pursuant to Fed. R. Civ. P. 12(b)(6). Dkt. 30.
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             2. On September 28, 2020, Plaintiff filed an Objection to Motion to Dismiss filed by
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                   the Defendant. Dkt. 33.
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             3. On October 9, 2020, Plaintiff filed a document entitled “Amended Pleadings,”
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                   which the parties agree constitute Plaintiff’s first amended complaint (“First
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                   Amended Complaint”), and is now the operative pleading in this action. Dkt. 37.
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27

     STIPULATION AND ORDER RE: BRIEFING SCHEDULE REGARDING                        Davis Wright Tremaine LLP
                                                                                            L AW O FFICE S
     MOTION TO DISMISS (2:20-cv-1044-MJP) - 1                                       929 108th Avenue NE, Suite 1500
                                                                                         Bellevue, WA 98004
                                                                                 425.646.6100 main · 425.646.6199 fax
              Case 2:20-cv-01044-MJP Document 39 Filed 10/16/20 Page 2 of 3




 1           4. In light of the First Amended Complaint, Microsoft’s pending Motion to Dismiss

 2               (Dkt. 30) is moot.

 3           5. For clarity, the parties stipulate and agree to the following briefing schedule:

 4                  a. Microsoft’s Rule 12 motion to dismiss Plaintiff’s First Amended Complaint

 5                      shall be due on or before October 30, 2020.

 6                  b. Plaintiff’s response to Microsoft’s motion to dismiss shall be due on or

 7                      before November 25, 2020.

 8                  c. Microsoft’s reply in support of its motion to dismiss shall be due on or

 9                      before December 4, 2020.

10           IT IS SO STIPULATED. The parties respectfully request that the Court grant the relief

11    sought by this stipulated motion pursuant to LCR 10(g).

12     DATED this 15th day of October 2020.
13

14     Earl James Gobin                                   Davis Wright Tremaine LLP
       Pro Se Plaintiff                                   Attorneys for Defendant Microsoft
15     (via email authorization)
16     By /s/ Earl James Gobin                            By /s/ Robert Maguire
17        Earl James Gobin, Pro Se Plaintiff                Robert Maguire, WSBA #29909
          4386 Cedar Wood Drive SW                          920 Fifth Avenue, Suite 3300
18        Linburn, GA 30047                                 Seattle, WA 98104
         Phone: (678) 849-2576                              Phone: (206) 622-3150
19       eagobin001@gmail.com                               Fax: (206) 757-7700
                                                            robmaguire@dwt.com
20

21                                                        By /s/ Devin Smith
                                                            Devin Smith, WSBA #42219
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                                                            devinsmith@dwt.com
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              Case 2:20-cv-01044-MJP Document 39 Filed 10/16/20 Page 3 of 3




 1                                               ORDER

 2           IT IS SO ORDERED. The briefing schedule for Microsoft’s Rule 12 motion to dismiss

 3    Plaintiff’s First Amended Complaint (Dkt. 37) is as follows:

 4           a. Microsoft’s Rule 12 motion to dismiss Plaintiff’s First Amended Complaint shall be

 5               due on or before October 30, 2020.

 6           b. Plaintiff’s response to Microsoft’s motion to dismiss shall be due on or before

 7               November 25, 2020.

 8           c. Microsoft’s reply in support of its motion to dismiss shall be due on or before

 9               December 4, 2020.

10

11
             Dated: October 16, 2020
12

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14
                                                          A
                                                          Hon. Marsha J. Pechman
                                                                                                ______

15                                                        United States District Judge
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     STIPULATION AND ORDER RE: BRIEFING SCHEDULE REGARDING                    Davis Wright Tremaine LLP
                                                                                        L AW O FFICE S
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